    Case 1:25-md-03143-SHS-OTW              Document 53        Filed 05/20/25       Page 1 of 1




                                           May 20, 2025

VIA ECF
Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007


RE:    In re: OpenAI Inc., Copyright Infringement Litigation, 25-md-3143 (SHS) (OTW)
       This Document Relates To: All Actions


Dear Judge Wang:

        Per the Court’s May 9 Order (Dkt. 416), on behalf of all Parties, please see attached charts
containing summaries of the discovery disputes for discussion at the upcoming May 27, 2025
conference. Exhibit A summarizes global case management matters relating to all parties
(including all Plaintiffs). Exhibit B contains a chart summarizing the discovery disputes in the
News Cases, 1 and Exhibit C contains a chart summarizing the discovery disputes in the Class
Cases.

                                              Sincerely,

LIEFF CABRASER HEIMANN               SUSMAN GODFREY LLP              COWAN, DEBAETS,
& BERNSTEINS LLP                                                     ABRAHAMS & SHEPPARD
                                                                     LLP

/s/ Rachel Geman                     /s/ Rohit Nath                  /s/ Scott J. Sholder
Rachel Geman                         Rohit Nath                      Scott J. Sholder




1
 The newly centralized Ziff Davis plaintiffs reserve all rights as to the disputes presented in the
News Cases chart, including because the Ziff Davis plaintiffs did not take part in the briefing on
any of these disputes. See Ziff Davis, Inc., v. OpenAI Inc. (25-cv-0501) (D. Del.).
